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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig ) MDL No. 2179
“Deepwater Horizon” in the Gulf)
of Mexico, on April 20, 2010 ) SECTION: J
) AFFIDAVIT OF
) SERVICE
)
This Document Relates to: ) Judge Barbier
Case No. 2:11-cv-01806 ) Mag. Judge Shushan
)

Audrey Greene, being duly sworn, deposes and says:

I am not a party to this action, am over 18 years of age and reside in New York, New
York.

On August 25, 2010, I served by email and by United States Postal Service the following
documents: (1) Notice of Motion to Remand and (2) Memorandum of Law in Support of Motion
to Remand by depositing them in a prepaid envelope in a mailbox under exclusive custody and
contro! of the United States Postal Service to Arthur A. Lemann III, Esq., of Arthur A. Lemann
III & Assoc., Inc., 643 Magazine Street, Suite 300 New Orleans, Louisiana 70130, and Robert N.
Habrans, Jr., Esq., of Habans & Carriere, 10843 N. Oak Hills Parkway, Baton Rouge, Louisiana

70810.
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Note: Service on All Counsel will be made by electronically uploading the same to Lexis

Nexis File & Serve in accordance with Pretrial Order No. 12 upon fulfillment of Folkenflik &

McGerity’s registration application to Lexis Nexis File & Serve.

Dated: August 25, 2011
New York, New York

Sworn to before me this

25" of Le A ({

Notary Public |

MAX FOLKENF
NOTARY PUB iBLIC ss ‘ae e 29 New York
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Qualified ir ow Yor k Bo
Commission Expires Sept, 30, Of ats

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Angry Gtepne
